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EXHIBIT 4
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1 UNITED STATES DISTRICT COURT 3
BISTRICT OF MASSACHUSETTS 1 INDEX
2 MDL DOCKET NO. 1629 2 WITNESS PAGE
3 3. RUTH B. SMITH
4  inre: NEURONTIN MARKETING, } 4 Direct examination by Mr. Ferguson 5
, } 5
5 SALES PRACTICES AND PRODUCTS } DEPOSITION UPON 6 EXHIBITS .
) ORAL EXAMINATION 7 EXHIBIT DESCRIPTION MARKED
6 LIABILITY LITIGATION. } OF 8 1 Copy of Medical Records with 4
) RUTHB. SMITH Handwritten Notations
7 } 9
) VOLUME 1 2 Page from Questionnaire 100
8 } 10
0 3 Eckerd Rx Advisor 142
14 " :
12 4 Letter Written by Dr. Wood 169
12
43 TRANSCRIPT of the stencgraphic .
. 44 notes of JANE LORFING COLWELL, a Certified Shorthand 3 5 Copy of Handwritten Note 182
$6 Reporter and Notary Public of the State of New 14
76 ~—s Jersey, taken at the Four Points by Sheraton Newark
17 Airport, 901 Spring Street, Elizabeth, New Jersey, on 15
18 = Thursday, April 12, 2007, commencing at 9:09 a.m. 16
19 7
20 18
24 19
22 20
23 REPORTING SERVICES ARRANGED THROUGH: 21
VERITEXT REPORTING COMPANY 22
24 25B Vreeland Road, Suite 304 2
Florham.Park, New Jersey 07932 24
25 25
2 4
1 APPEARANCES: 1 {Exhibit 1, Copy of Medical Records with
a eas ona PARTNERS, LLP 2 Handwritten Notations, marked for
obinson Avenue a
3 Newburgh, New York 12550 3 identification.)
(800) LAW-AMPM 4 THE VIDEOGRAPHER: Good moming. My
4 OY finkostcin@lawarnpmeon ESQ, 5 = name is Daniel McClutchy of Veritext(New Jersey. The
5  Forthe Plaintiffs Smith 6 date today is April 12, 2007, and the time is
6 CLARK, THOMAS & WINTERS, A PROFESSIONAL 7 approximately 9:09 a.m.
7 sao Won eth aveet 45th Floor 8 This deposition is being held at the
P.O. Box 1148 9 Four Points Sheraton in Elizabeth, New Jersey, 901
8 Austin, Texas 78767 10 Spring Street. The caption of this case is In re:
542) 472-8800
9 er od J. FERGUSON, ESQ 11. Neurontin Marketing, Sales Practices and Products
kif@ctw.com 12 Liability Litigation in the U.S. District Court,
i‘ For the Defendants Pfizer and Wamer-Lambert 13 District of Massachusetts, Docket No. 1629, Master
ALSO PRESENT: 14 File No. 04109811. The name of the witness is Ruth
12 15 6B. Smith.
3 Daniel McClutchy, Videographer 16 At this time the attormeys will identify
14 17 themselves and the parties they represent, after
15 18 which our court reporter, Jane Colwell, will swear in
i: 19 ~—s the witness and we can proceed.
18 20 MR. FINKELSTEIN: On behalf of Richard
19 21 = Smith, Ruth Smith, and the Smith family, Andrew
s 22 ‘Finkelstein, Finkelstein Partners.
22 23 MR. FERGUSON: Ken Ferguson, Clark,
a 24 = Thomas & Winters, in Austin, Texas, representing
25 25° Warner-Lambert and Pfizer.
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25 27

1 ancient when we made that trip -- and drove into Las 1 A Yes.

2 Angeles and then caught a bus there to Sacramente, 2 Q When he started with Nashville Office

3s and that's where we stayed for -- we stayed in 3. Machines, kind of what generally was he doing?

4 Sacramento -- stayed there a couple of months 4 A = Welt, he was on the Gl bill of rights,

5 probably, came back to Nashville. 5 and back then typewriters and things were very

6 Q = So after -- and he was in a number of 6 — archaic for what they finally became, so he was

7 stations in the last months of his service, was 7 — working on typewriters basically.

8 — discharged at Mather Air Force Base in Sacramento, & Q Haw big a company was that when he

9 and then -- 9 ~~ started there?

10 A In Sacramento, he was discharged at 10 A itwas asmall company. Mom and pop

11. Mather Air Force in Sacramento. [s that what you 11. type of —

12. said? 12 Q Did it grow over the years?

13 Q = Yes, ma'am. That's what | said. That's 13 A Yes.

14 what | understood you to tell me. {4 Q  Scin, say, the early 2000s, how big a

15 A Idid. 15 company was it In terms of how many employees? Any
16 Q After staying for a couple of months in 16 ~— idea?

17 Sacramento, you all moved to Nashville; is that 7 A | don’t really know, but from pictures |

18 = right? 18 have seen, probably at least 20 people under Richard.
19 A That's right. 19 Q So he was working when he started thera
20 @ Did you stay in Nashville for the 200 as

21 ~— duration, or did you move other places? 21 A An apprentice,

22 A We stayed here. 22 Q And as a mechanic working on typewriters
23 By “here” you mean Nashville? 23° and similar --

24 A Well, Nashville. We stayed in 24 A Training.

25 = Nashville. 25 Q ~~ Then what kind of position did he

26 28

1 Q I didn't think you lived in tha New 1 advance to there?

2 Jersey area. 2 A Service manager.

3 A No. My heart's stil in Nashville. 3 Q = When did he become service manager?

4 Q  |understand. 4 A I don't know. | honestly do not know.

5 So from 1946 al some point up until 5 Q Can you give me any idea about whether
6 today, you have lived in Nashville; right? 6 that's in the “40s, ‘50s, "60s, 70s? Again, if you

7 A Yes. 7 know. |am net asking you te guess.

8 Q Let ma talk a dit about Richard's work 8 A | don't know. | don't recall.

9 history after you got back te Nashville. 9 Q At what point in his life did he go from

13 A Okay. 10s working full-time at Nashville Office Machines to

41 Q Once he got ~ once you moved to 11 working part-time?

42 = Nashville in 1946, what kind of work did he go into? 12 A His part-time was probably -- his

13 A Office machines. 13. part-time -- probably in about March. He worked --
44 Q And when you say he went into business 14 probably in March of 2004, somewhere along there,
4165 in office machines, did ha go to work for an existing 15 = March or April.

16 company in office machines or did he start his own 16 Q = $a he was working full-time, as you

1? = company, or what happened? 17 recall, at Nashville Office Machines vp until March
18 A He went to work for an existing company. 18 orsoof 20047

19 Q ~~ What was the name of that company? 14 A Yeah, because he had had soma surgery
20 A Nashville Office Machines. 20 86, you know, recavery period, and so he -- far as |
21 Q How long did he work for that company? 21 can remember, it was about in April or March. It's
22 A Well, started in 1947. And basically he 22 hard to keep these things in mind.

23 ~~ stayed there the duration. 23 Q And why did he move to part-time at that
24 Qs Was he still working part-time at 24 —stime?

25 = Nashville Office Machines at the time of his death? 2 A His health.

 

 

 

 

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33 35

1 there to the other one and stayed three years, and so 1 after Cheap Hill?

2 that would have been 1959 to about 1862. 1962. 2 A When we left Cheap Hill, wa went back to

3 QQ And what was the name of the church, the 3 Scottsboro where he was youth minister right out of
4 first one? 4 — sérvice, and we stayed there about -- ‘62. We stayed
5 A The first one — now you — don't laugh. 5 there probably -- it’s hard for me to remember those
6 Q No, ma’am, | wort, 6 days. We stayed there several years, though. That's
T A Bearwallow Church of Christ. 7 when Bearwallow called us and wanted him to come
8 = -B-E-A-R-W-A-L-L-O-W. 8 back.

9 QO = Sounds like a nice name for a church. 9 Q = Sothe place he had been youth minister

10 A The reason for that, the bears used ta 10) 9 was Scottsbora?

41. wallow in that road. 11 A Yas.

12 Q Allright. Aflar Bearwallow -- let me 12 Q You all were there for a few years and

13° ask you about this: With the Bearwallow 13° then went back to Bearwallow?

44 congregation, was he an assistant minister, was he 44 4 If you want to start from the very

15 the minister? 15 first, okay. When Richard got out of service and we
16 A He was the minister, 16 had this little invalid child, his mother went to

17 Q How big a congregation was that? 17 ~~ what they call Bordeaux Church of Christ, and that's
18 A When we first went there, probably about 18 = where he started his youth ministry, because mama
19 50 people. It was an old country white clapboard 19 kept us -- take care of Jimmy, our son Jimmy. And
20 ~~ building, pot belly stove in it. The lingleum would 20 the elders at Bordeaux Church of Christ asked Richard
21 ~~ blow up off the floor. So we first Suilt classraoms 21 — if he would go to Scottsboro Church of Christ as

22 on, and from tne classrooms we had to tear down the 22 = minister, or song leader, actually, just a social

23 building and build a new building. It ended up about 23s minister. He was a great song leader,

24 350. That was the second time we went there, though. 24 And when we went thera, we started

25 = in the ten years we were there it grew like that. 25 ~=worship in a basement building. And while Rich was

34 36

1 The first time we was there it was just three years, 1 there, we Suilt an auditorium upstairs, and we stayed
2 and then went to Cheap Hill Church of Christ. Cheap 2 there unti! — that's when we stayed there until

3. Hill. And that was in 1962. 3 4955, and that's when a minister friend of ours asked
4 The reason | can recall these dates, our 4 Rich if he would be interested in being full-time

5 oldest daughter was bom in 1955. We weni there in 5 minister. And that was when we went to Bearwallow
6 4956 when she was just a baby. And then Gayle was 6 Church of Christ when Sherri was just a baby in 1956.
7 ~~ born there in 1957. And when we left thera, we went 7 So it was Bordeaux, Scottsboro,

8 tothe Cheap Hill, and that's where our Cindy was 8 Bearwaliow and Cheap Hill, back to Scottsboro, and
9 born. She was born in 1959. 9 then back to Bearwallow.

10 Q Okay. So Bearwallow from about '56 to 10 _ @ — And how long were you all at Bearwallow

41. ‘59. And Chaap Hill from about '59 to ‘62. 11. the second time?

12 A Right. 12 A About ten anda half years. By the time

13 Q And again, at Cheap Hill, was he paid 43 we left there in 1976. I believe | am correct on

14 some amount? 44 that.

15 A That's where they just paid then $10. 48 Q And when he was at Beanwallow, let's say
16 He went — probably got increases as we stayed there, 16 in the couple of years bafore you all left there in

17 but that's what it started out at. In fact, what 47 = ‘76, what was he being paid? In other words, was it

“48 they took up in tha collection plate at Baarwallow is 78 ~~ still sort of gas money, or was he getting paid a

19 what they paid him, but was probably not much because 19s salary?

20 ~~ they were farmers. They were rural people. 20 A [honestly do not remember. Probably a

21 Q ~~ And at Cheap Hill, how big was that 21. couple, $300 a month. Not much. Almost like a

22 congregation? 22 mission figura.

23 4& — Oh, it was probaly -- the time we left 23 Q And did you all go to another

24 ~~ there it was over a hundred. 24° congregation after ‘76?
25 @ And did he go into ancther ministry 25 A Uh-huh.

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37 39

1 Q Where was that? 41 he wouid do a lot of visiting and stuff. Still, the

2 A Went to opposite end of tha ~ through 2 alders and all took care of all the elder types of

3. the town, went to -- slipping my mind right naw. 3 things that came about.

4 Q it's okay. Take your time, or we can 4 Q ~~ So after Gilroy Church of Christ, in

5 skip it and come back to it and do it later. 5 about 1982 what congregation did you all go to next?
6 A Gilroy. Went to Gilroy Church of 6 A Well, wa went to Jackson Park Church of

7 Christ. 7 — Christ just to sort of retire, but they didn't want

8 Q How long were you at Gilroy? 8 him to retire. So there was a man that went to the

$ A That was in 1976 we went there, and we 9 Trinity Lana Church of Christ that asked Richard if
10 left in 1982, | believe is correct. 10 ~=he would be interested in coming there and being

11 Q At Gilroy was he an assistant minister, 11 their song leader — Richard was a very good song
12. the minister? 12 leader — and being the youth minister thera, even
413 A He was pulpit minister. 13. though he was the age he was. So even though he was
14 Q How big a congregation was that? 14 youth minister, he taught the adult class. And we

15 A First went there was probably 90. We 15 stayed there 12 and a half years.

16 — daubled the size of the building. Probably grew to 16 Q Sait was Jackson Park Church of Christ

17 around 400 or more. 1? = you were 12 and a half years or Trinity Lane?

18 Q How many hours - talking about when he 18 A Trinity Lane.

19 was at Gilroy — how many hours a week would he have 19 Q Okay. Was that from about 1982, then,

20 to dedicate to his work at the church? 20 until about "94 or so?

21 A Well, ha wasn't sat hours because 2i A We left Trinity Lane in ‘97. | believe

22 Richard still worked full-time at Nashville Office 22 ‘I'm correct in that.

23) Machines. And he studied a lot. He put a lot of 23 Q At Trinity Lane he was song leader and

24 preparation in what he did. i would know him to go 24 youth minister and taught an adult class. He wasn't
25 to the hospitals and stay until maybe four, five 25 the head minister?

38 40

1 o'clock in the morning, come home and shower and go 4 A Right.

2 = do his regular job. He was just that kind of man. 2 QQ And was he paid for his work?

3 Q And that's what | was trying to figure 3 A Yes.

4 out, if he was working 40 hours a week at Nashville 4 Q De you know what he was paid?

§ Office Machines, was he working another 40 hours a 5 A * Ido not.

6 9 week at — in his ministry? 6 Q Do you know how he was paid? Was ita

7 A Wall, he's just @ very industrious man. 7 regular paycheck like he got from Nashville Office

8 When he was on call, he did counseling, just various 8 Machines?

9 things, when people would come to him with marita! 9 A Uh-huh, He got a check.

10 problems or whatever. 10 Q = Soin 1997, you said you left Trinity

41 © lL assume, although | havan't done it, 11. Lane. Where did you go next?

42. thatin a church of 400 people or so, there would be 12 A Back to Jackson Park.

13. a lot of administrative duties in addition to helping 13 Q ~~ When you all went back to Jackson Park

14 the sick people and studying. Who would handle those 14 Church of Christ in ‘97 or so, what was Richard's

15 administrative issues? 16 position there?

16 A | doen't know whether you are familiar 16 A Well, be just went there — we just

17 — with Churches of Christ or not. Are you? 17 ~— placed our membership there, They would call on him
18 Q Grew up ina Church of Christ town, 18 sometime to teach a class or to laad singing.

19° ma‘am. 19 Nothing regular and no pay. It was just a member.
20 A Okay. The Churches of Christ are 20 Q — So starting in'97 or so when you went

21. govemed by their elders. And the Deacon — the 21s back, you joined — rejoined Jackson Park Church of
22 elders oversee the spiritual part of the work. The 22 ~~ ‘Christ, and Richard would do volunteer activities.
23° deacons do the work. That's kind of the way it's 23 A Right.
24 based. So even though Richard did a lot -- pecple 24 Q But wasn't in a regular position there
25 still depend on ministers, thay think, but even sc, 25 at the church,

 

 

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1 A He didn’t complain about a chronic pain. 1 like he may have had that first knee replacement

2 You know how some people get a pulled muscle or 2 surgery in '93. Does that sound consistent?

3. something. 1 just remember one time him having that 3 A That sounds more like it.

4 kind of a thing. But bedrest he was over, You know, 4 © And | think there may have been a

5 he didn't stop working. He just would go and work, 5 cartilage surgery back in '88 or so.

6 and he just got over it. it wasn't chronic. 6 A Right.

7 Q And you only recall that on one 7 Q =~ That sounds right to you?

8 occasion? 8 A Exactly.

S$ A Just that one occasion. That happened. 9 Q And was that a Dr. Stowers who did that?
10 That was right after church. And what caused it, he 10 A Dr. Stowers, S-T-O-W-E-R-S.

11. stooped down to pick up Gayle and just, | guess, 11 Q ~~ Or. Stowers noted in September of '93.

12. pulled a muscle or something. 12 that Mr. Smith was complaining of severe left knee
13 Q = Soagain, at least until the early to 13 prodlems. Is that your recollection, that leading up
14 mid-'80s -- and we'll talk about cther periods as we 14 to that knee replacement of the left knee he was

15 go through -- but he didn't have at least what you 15 having severe pain in the knee?

46 perceived as an unusual amount of pain? 16 A Yes,

V7 A No. 17 Q ~~ Was that knee pain interfering with his

18 Q Did he have any other health problems, 48 = work atall?

19 any other health issues — and | am looking at like, 19 A Well, he didn't let it.

20 ° say, the '45 to 85 time frame -- significant health 20 Q What do you mean by that? Tell me.

21 problems that would have required him to go to the 21 A Well, he continued to work.

22 ‘hospital or go to see a doctor on a regular basis. 22 Mr. Smith sounds like someone who

23 A Up through ‘85? 23° generally enjoyed his work.

24 Q = Yas, ma‘am. 24 4A = He did enjoy -- he tolerated pain every

25 A Nothing particularly at all. 25 day quite well.

74 76

1 Q Did your husband, to your knowledge, 1 Q As far as you could tell from your

2 ever have any treatment for any psychiatric illness? 2 = observations of him and your discussions with him,
3 A No. 3 could you tel! whether that knee pain back in '93

4 Q Psychological problem? 4 leading up to the knee replacement interfered with
5 A No. § his ability to enjoy his work?

6 Q Did he ever go to a mental healthcare 6 A Itdid not.

7 counselor, ever in his life, that you are aware of? 7 Q = Once that surgery, the left knee

§ A No, 8 replacement, was performed -- was trying to give you
9 Q ~~ To your knowledge, did any doctor ever i 9 a date — looks like November of '93, did his laft

10 diagnose him with depression? 10 knee problem get better as far as you could observe?
1 A |—as far as | know of a doctor 11 A The '93, yes, as far as | could observe.

12. diagnosing him with depression, | don't -- | am not 12 Q Do you know whether he would ga in to

13° aware of that. 43° the doctor and stilt hava some problems with pain in
14 Q Deo you know abaut when he first started 14 the left knee even after the surgery? | am talking
15 having severe knee problems? 15 about in the mid-"90s time frame.

16 A When he first had that first surgery, 16 A Of that same knee?

17 ~~ probably. The cartilage problem. But! don’t know TF & Yes, ma'am.

18 = ~=why, other than | was telling you about the garage 18 A You know, if he did, | just don't recall

19 incident, what caused any of that. 19 ali of that.
20 Q = Do you know when he had his first knee 20 @ Let me ask you this: And during this
21. replacement? 21 ‘time frame, during the 19905 — and | have the
22 A It might have been at '88, | am 22 = advantage of having some notes on the medicals --
23 aciually not sure right now at this point. 23 A Right.
24 Q According - 76 23. 24 @ = -—did you ever go on those doctor
25 Again, according to my notes, it looks 25 visits with him?

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1 and he had never even talked about anything like 4 I mean, you know, | didn’t belabor over it.

2 this. He said — we sat at the dinette table. We 2 Q Bo you know one way or the other whether
3. were eating lunch, | think. And he said, "Honey, do 3. he was or was not taking Neurontin at this time, |

4 you think God would forgive me if | just do away with 4 about three weeks before his death?

5 myself." 5 A ~~ -He was taking it.

6 And | said, “Honey, what on garth are 6 Q ~~ How do you know that?

7 you talking about? Do you realize what a burden that 7 A Well, Dr. McCombs had given him samples
8 would leave on your family?” Of course | didn't 8 of it, and he also told my son-in-law, Wes Camahan,
9 think anything about the connection of Neurontin or 9 that on May the &th, and the reason | remember it was
10 the connection with evan him maybe being serious, 10s the weekend that Cindy’s birthday, and we always get
11 taking his life. 11 together, and he related to Wes that he was — feit

12 And the only other time that | recall 12 loopy, like, was the word he used. ,

13° was we had left church, and we were gaing to eat or 13 Q This conversation with Wes was the

14 something, and he loaked over at me and he said, 14 weekend of May 8?

15 "Honey, | don't know what's wrong with me. There's 15 A Yes.

16 something wrong with my mind. | don't think like | 16 Q And Wes's last name is?

17s used to.” And that's the things that he said to me. 7 A Camahan, C-A-R-N-A-H-AN,

18 = And | didn't connect it with Neurontin. | didn't 18 Q ~~ He told Was that he felt loopy?

19 connect it with -- | just thought connecting with his 19 A He told him he was on —~ he stated, "I'm

20 spain that he felt that way. 20 on Neurontin, and it makes me feel loopy.”

21 Q And the two conversations you just told 21 Q © Was loopy a term he used other times,

22 us about, he didn't connect it with Neurontin either. 22 ~~ other context?

23 A No. 23 A Probably.

24 Q And |'ll come back to these in just a 24 Q = From your knowledge of him in using that
25 ~=minute, but what | am trying to understand is did you 25 ~~ term before, what did he mean by that?

146 148

1 ever have a conversation with him where ha connected 1 A | guess sort of — | honestly don’t know

2 any feelings he was having with Neurontin himself? 2 what he meant by it.

3 A No. Not-- not mysetf that | recall. 3 Q The episode at the kitchen table about

4 You know. 4 threa weeks before his death, nothing else about that
5 Q ~~ And tell me, let's talk about these two 5 other than his comment and your comment that we have
6 episodes that you talked about. You said one was, 6 talked about?

7 you said, three weeks. Is that — 7 A itwas so -— off the cuff that I just

& A Lam going to say about three weeks & said what | just teid you. And that was just end of

9 before. 9 it.

40 Q Three weeks before his death? 10 Q _~sDid you repor that comment to your

WV A Yes. Uh-huh. 11. daughters?

12 Q Sa three weeks before his death you al! 12 A Yes, I'm sure | did.

13° were sitting, the two of you — 13 Q What was their response?

14 A Uh-huh. 14 A | don't know what they thought then, but

15 Q ~~ -- sitting at the dining table? 15 when we jook back, hindsight's a lot different. They
16 A Yes. 16 said they wished that they had paid more attention or
7 Q And he asked if you thought God would 17 something to that effect.

18 = forgive him if he did away with himself? 48 Q And the other episade, and | forget if

19 A Right. 49 = - you told me when that happened, when he said “I don't
20 Q And you painted out that that would 20 know what's wrong with me,” when was that one?

21 leave a huge burden far his family to deal with. 21 A That was one Sunday after church when we
22 A Sure. 22. were going out to eat lunch.
23 Q ~~ What further conversation took place 23 Q ~~ When was that in relationship to the
24s there? 24 time of his death?
25 A (guess it just sort of ended with that. 25 A i don't really recall the exact date,

 

 

 

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153 155

i A Well, | don't know, so there's no way 4 A No.

2 for me to manufacture something. 2 Q How about since your husband's death,

3 MR. FINKELSTEIN: Just don’t guess. 3. hava you had any discussions with any of his doctors
4 Q None of us want you to guess or 4 regarding Neurontin?

5 manufacture anything. Just trying to get your best 5 A [ haven't.

6 recollection, and sometimes that recollection may not 6 Q Have any of your daughters?

7 came directly fram you but may come from your 7 A No. To my knowledge.

& = daughter or your husband. And | am trying to gat 8 Q ~~ Have any of your family members?

9 those communications. Not any communications with 4g A No. ‘

10 your lawyers. That's none cf my business. Okay. 10 QQ Have you tried to contact any of your

11 Was your husband, say in the last 11. husband's treating doctors since his death to talk to
12. several months before his death, he was never treated 12 them about Neurontin or what perhaps caused his
13 for anxiety or depression to your knowledge: correct? 13. death?

14 4 = That's correct. 14 A | haven't, no.

15 Q To your knowledge, ha never took any 15 Q Let's talk about the visit with

16 medication to treat depression and anxiety. 16 Dr. Wood. Dr. Wood is your -- was Richard's dentist;
17 A To my knowledge. 17 correct?

18 Q ~~ What was his reaction, if you recall, to 18 A Yes.

19 being told he just needed to manage his pain? 19 Q ~~ And had he been someone Richard had

20 A Well - 20° known fer a long period of time?

21 MR. FINKELSTEIN: Can we just get a time 21 A Yes.

22 ~~ frame on that? 22 Q ~~ Apparently he went to see the dentist on

23 MR. FERGUSON: Sure. 23° Monday, May 10; correct?

24 Q  |am talking in this time period from 24 A That's correct.

25 = March 31 of 2004 up until the time of his death. What 25 Qs And there's a letter that you have seen

154 156

1 was his reaction to being told by Dr. McCombs he just 1 from Dr. Wood which was written after your husband's
2 needed to manage his pain? 2 death; correct’?

3 A Weill, | don't know his actual thoughts. 3 A That is right. .

4 Q And | understasd you can't know his 4 Q in that letter Or. Wood indicates

5 thoughts, but | am trying to think of what he may S "Mr. Smith was still troubled by back pain and

6 have expressed to you, if anything. 6 — immediately told me that an end to pain seemed to be
7 A | don’t think he expressed anything. 7 hopeless.”

& Q What was the date of your husband's 8° Do you recall reading that in that

8 death? 8 stetter?

10 A May the 13th, 2004. 10 A Yes.

11 Q = Do you know if at that time he was 11 Q Do you recall your husband ever telling

12. continuing to take Neurontin? 12 you that he thought an end to his pain seemed

13 A Ido. 13 hopeless?

14 Q And how do you know that? 14 A | don't remember him just saying that.

15 A Just know thal he was taking it, and 16 More likely he possibly did.

16 also from conversations that he had with his 16 Q Certainly that was similar to what he

17 — son-in-law that he was taking it, and also with his 17 ~~ told you at the dining room table when he said --

18 dentist, Dr. Wood, Chris Wood, on May the 10th. 18 asked if God would forgive him if he took his own

18 Q Was he on any other medications? 19 ‘life because of the pain?
20 A He was probably on pain medicine. 20 MR. FINKELSTEIN: Objection.
24 That's the only thing | know of. 21 A = | cannot assume that.

22 Q Did any doctor or medical practitioner 22 QQ Okay.

23 ever indicate to you during your husband's lifetima 23 MR. FINKELSTEIN: Try to keep your voice
24 why he was prescribed Neurontin, what the purpose of 24 soup.
25 the Neurontin was? 25 THE WITNESS: | don't talk loud very

 

 

 

 

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1 corract pain in legs; is that correct? 1. know how she got - | think Sherri got Gayle, Out it

2 & Uh-huh. 2 ~~ was just such confusion getting everybody, and our
3 Q Yes? 3. Donna that was experiencing cancer, not knowing that
4 A That's what he's saying there. 4 itwas Richard that really did this, she just -- and

§ Q And again, we have talked about him 5 her husband had just left for his hospital duties.

6 having back problems that led to pain in his legs. 6 = And we did catch him, though, and he came a little

7 A Yes. 7 (ater, But Donna, having cancer, she just beat on

& Q And again, we talked about the fact that 8 her steering wheel, she told me, all the way over

9 ~~ although he mentioned surgery, the doctors had said 9 there. "Daddy, why did you do this to us?” And we
10 = surgary couldn't help him. 70 thought it was crazy at the time, but it wasn't.

11 A That's right. V1 = Why did you say that?

12 Q ~~ Andhe goes on to Say, “Forgive me. | 12 A We just felt it was not him. It was the

13 cannot go on like this.” 13° medication that made him -- that it was just not his
14 Did he evar use that phrase with you, 14s character at all.

15 = that he couldn't go on? 15 Q And what medication are you referring

16 A Ne. 16 to?

7 Q He said, "| cannot have my bedy, the 17 A Well, as of now | am referring to the

18 — temple of the holy spirit, cut on anymore.” Correct? 18 = Neurontin.

19 A Yas. 19 Q Why do you believe -- and again, when |

20 Q Had you and he had a discussion about 20 ask you these kind of questions, | don't want to know
21 ~~ that before, about the fact he didn't want to have 21s and can't know anything, communication you have
22 his body cut an? 22 ~— gotten from your attomey or anyone from their
23 A No. No. 23 offica.
24 Q And finatly he says, “I have talked to 24 A Right.
25 God all night, and he understands.” Correct? 25 Q But you made the comment that it wasn't

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1 A Yas. 1 him, it was the medication, the Nevrontin that caused
2 Q = Qbviously Mr. Smith was a very spiritual 2 this. And | want to know what your understanding is,
3. and religious man; correct? 3. if you have an understanding independant of your

4 A Hewas. But -- 4 attorneys, about why Neurontin is somehow connected
§ Q You were telling us earlier that you had 5 to your husband's death.

6 called your daughter. | forget which one you called ‘6 A Well, the main thing | think is since

7 first, Y — ailof this happened, and | did — after the fact

a A Sherri, 8 — some things started being published, and our

9 Q = You called Sherri. And she was getting 9 = son-in-law, Donna's husband, is a doctar,

10 ready to go teach her classes. And what did you tell 10 pharmacology. He made mention to Cindy that, “Cindy,
41 her? 11 think you need to look into this.” And with all

12 A | just —| was hoping that her husband 12 the stuff they get, so Cindy began to search it. |

43° would answer the phone. | just blurted out that 43 really didn't start searching anything until probably

14 "Sherri, Daddy has shot himself." Of course, | don't 44 February and —~

15 know what took place in their house, anly what she 15 MR. FINKELSTEIN: February of what year?
16 told me. Of course, Buford couldn't believe it, and 16 THE WITNESS: Of 2004 — 2005. February
17 Katie, the granddaughter, she was very close to her 17 oof 2005,

18 pop pop. And she really hasn't — Katia hasn't even 18 A Andas she looked into it, she saw a lot

19 been able to really talk about it to me until ( think 19 = of information, and some way Finkelstein & Partners
20s recently, you know. I'll say something to her. 20 came up, and she got in touch with their office.
21 Q Did you call your other daughters? 21° Cindy handled so much of this herself. We got
22 A | tried to call Gayle and could not get 22 everything together that we possibly could to send to
23° her, and | called Cindy. | usually -- one of the 23 Finkelstein & Partners.
24 ~—soothers called the oldest and the youngest. I nad the 24 Qs Okay. | really — | don't want to hear,
25 ~~ operator to break through the line same way. | don’t 25 again, about what you gathered to send to your

 

 

 

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